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. US. DISTRICT COURT
UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF TEXAS
FOR THE FILED
NORTHERN DISTRICT OF TEXAS
FORT WORTH JUN - 3 2015
Lisa A. Biron, ) CLERK, U.S. DISTRICT COURT
Plaintiff ) By
) Deputy
Vs ) Civil Action No.: 4:15-CV-205-0
)
) Request for Emergency Temporary
Jody R. Upton, Warden, ) Restraining Order
FMC-Carswell, et al., )
Defendants. )
)
)
)

Motion to Amend Complaint to Request Emergency Temporary
Restraining Order

On March 18, 2015, after months of proceeding through the adminis-
trative remedies process, the Plaintiff filed a civil action against the
Defendants seeking a preliminary injunction, a permanent injunction, a
declaratory judgment and damages. By Deputy Clerk letter dated May 26,
2015, the Plaintiff learned that the Defendants have not yet been served
with this suit.

On June 1, 2015 at 12:33 p.m., Plaintiff received another incident
report for allegedly sending mail to her daughter, R.B. The Defendants
will likely again take away Plaintiff's phone privileges while she is in
the midst of trying to collaterally attack her underlying conviction and
may confine her in the Special Housing Unit.

The Plaintiff bas stated a prima facie case of multiple civil rights
violations in her initial complaint. The complaint was initially screened

by the Court in order to grant the Plaintiff in forma pauperis status.

And being an attorney herself, the Plaintiff can not fathom why her law

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suit has not yet been sufficiently screened, the Defendants served, and
a preliminary injunction issued.

The ongoing violation of the Plaintiff's constitutional rights as set
forth in her verified Complaint amounts to an irreparable injury. The
sanctions including loss of phone when the Plaintiff is trying to repre-
sent herself in her criminal case will cause irreparable injury.

The Plaintiff requests this Court restrain the Defendants from acting
on, or sanctioning the Plaintiff for, the June 1, 2015 Incident Report
until the Court can rule on her request for the Preliminary Injunction.

The Plaintiff has given a copy of this Pleading and the Proposed
Order to Show Cause to the lieutenant on duty.

Respectfully submitted,

bo [-15 10 Gnsn

Dated . Lisa A. Biron
#12775-049

FMC Carswell

P.O. Box 27137

Fort Worth, TX 76127

Verification

I, Lisa A. Biron, hereby swear, under penalty of perjury, that the

matters and facts alleged in the foregoing Complaint are true and correct.

6-1-15 Kia Bron

Date Lisa A. Biron
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Lisa A. Biron
#12775-049
FMC Carswell
P.O. Box 27137
Fort Worth, TX 76127

Clerk of Court June 1, 2015
U.S. District Court

501 W. Tenth St., Reom 310

Fort Worth, TX 76102-3673

Re: Biron v. Upton, et al. Civil Action No.: 4:15-CV-205-0
Dear Clerk:

I have enclosed, for filing with the Court, my Motion to Amend
Complaint to Request Emergency Temporary Restraining Order and Proposed
Order to Show Cause.

Thank you for your attention to this matter.

Sincerely,

Lisa A. Biron
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